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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 TIMIPRE SYLVA,
                                                   Case No.: 5:21-cv-04102
                        Plaintiff,

                 -against-
                                                   COMPLAINT
 JACKSON UDE,

                        Defendant.


       Plaintiff Timipre Sylva (“Mr. Sylva”), through his undersigned attorneys, as and for his

Complaint against Defendant Jackson Ude (“Defendant”) alleges as follows:

                                     STATEMENT OF CASE

       1.       Mr. Sylva brings this action for damages and corrective and injunctive relief due

to Defendant’s blatant acts of defamation that wrongfully accuses Mr. Sylva of, inter alia,

professional misconduct, including taking bribes and engaging in fraud, in his capacity as a

Nigerian civil servant whose work includes ensuring the sustainable development of oil and gas

resources in the country.

       2.       Defendant’s wrongful publications of the defamatory statements, which portray

Mr. Sylva as a corrupt and disloyal public servant, have severely harmed and continue to harm

Mr. Sylva, who has been contacted by several of his colleagues and family members, among

others, expressing shock and outrage toward Mr. Sylva due to the defamatory statements.

       3.       Despite having knowledge of the falsity of the defamatory statements – and the

damage they were causing Mr. Sylva – Defendant still, to date, has refused to acknowledge the

wrongfulness of his conduct or take down the defamatory statements.
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